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No. 15-2108

 

UNITED STATES COURT OF APPEALS
FOR THE SEVENTH CIRCUIT

UNITED STATES OF AMERICA
Plaintiff — Appellee,

Vv.

DANIEL T. ECKSTROM
Defendant — Appellant.

 

Appeal from the United States District Court
for the Northern District of Indiana
Case No. 2:13 CR 84
The Honorable Philip Peter Simon
United States District Judge

 

APPENDIX

 

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a sentence that is the only sentence in this case that truly
accomplishes the factors set forth maintaining this 3553(a).
We ask Your Honor to sentence the defendant to a
life-equivalent sentence. Thank you.

THE COURT: All right. As we know, the Supreme Court
has modified the Federal Sentencing Act and made the
Sentencing Guidelines advisory. Prior to "United States v.
Booker," the guidelines were mandatory, and the judges, like
myself, had to follow the guidelines. But Booker demoted the
guidelines from a mandatory document to advisory instead.

So I certainly have to take the sentencing
guidelines into consideration when I render a sentence, but
I'm also required to consider all of the other factors under
3553(a) in arriving at what is hopefully a reasonable and
appropriate sentence given all the circumstances.

I cannot arrive at a sentence with a thumb on
the scale in favor of the guidelines; in other words, the
guidelines are neither more important nor less important than
all of the other factors. So in addition to the sentencing
guidelines, I have to take into account the nature of the
circumstances of the offense, the history and characteristics
of the defendant. The sentence that I impose must reflect the
seriousness of the offense, it must promote respect for the
law, and it must provide just punishment for the offense. And

I have to be concerned in imposing a sentence that will deter

 

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criminal activity, both specific deterrence, protecting the
public from further crimes of the defendant, himself; but also
the concept of general deterrence, so that the sentence will
adequately deter criminal activity in general.

The sentence that I give must attempt to avoid
unwarranted sentencing disparities among similarly situated
defendants. And ultimately, the goal is to arrive at a
sentence that is sufficient, but not greater than necessary,
to achieve the statutory goals of sentencing.

In preparing for the sentencing hearing, as I
mentioned at the outset of the hearing, I reviewed all of the
material that was presented to me; but in particular, the
defendant filed a Supplemental Sentencing Memorandum, wherein
there were several letters attached. The first letter was
from the defendant, himself. I also received a letter from a
Sharon Knight. I received a letter from somebody within the
jail ministry; his name is just Greg. I received a letter
from a Doyle Buckner, who's the chaplain at the Kankakee
facility. I received a letter from another person in -- or
member of the prison ministry. His name is J. Bournes. I
received a letter from Marcy Brinkman, who is the defendant's
aunt and godmother. I received a letter from Laura Reaux
(phonetic). That's the defendant's second cousin. And I also
received a letter from the defendant's mother, Ella Branks

(phonetic). That's how you pronounce it. And then I received

 

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a letter from Kent Mohr, M-0-H-R. He is with the prison
ministries, as well. And then attached to that were several
certifications and certificates of achievement that the
defendant obtained while he has been incarcerated pretrial.

I also reviewed all of the victims' statements,
and so I'll allude to many of these things as I go through ny
statement of reasons here.

I have used the 2014 guidelines, and no part --
nohody has objected to the use of those guidelines. I will
say at the outset that this -- I feel this case is the
single-most disturbing case that I've had in 12 or 13 years as
a judge. The victims' statements are really distressing.
I'll reference a couple of them and won't belabor the point,
but I do think what comes out from them is a young lady who
has low self-esteem, for obvious reasons.

She answers one question: "How do you think the
existence of the images and videos of the sexual abuse will
impact your future?"

And she writes that, "I see a lonely future."
And she tells me that, "I don't think I'm going to make it
very far."

Those are just profoundly sad statements from a
victim, but no surprise, given the gravity of the conduct at
issue in this case.

She tells me, in Document 70-3, that the abuse

 

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she suffered was, quote, absolutely horrible. I felt
helpless. I was afraid that he would kill me if I told
anybody, so I did my best to cover it up by telling everybody
how great he was, referring to the defendant.

She tells me in that same document that the
defendant, in her mind, is very manipulative and evil, and
that he never was a father, he never will be to her. She
tells me that, "My father started touching me not long after I
moved in with him. I'd say about age eight or nine." And she
tells me, in answer to another question that, "My father was
manipulative and told me things like, ‘Everything we're doing
is normal, people used to do it all the time.'" She tells me
that, "My father made promises and offered me gifts to get me
to do what he said, and he'd give me candy and chocolate and
other things so I'd listen to him."

The promises he made were often about these
gifts, but she goes on to say that, "He also used threats;
such as, telling me that if I ever got pregnant, he'd use
a" -- pardon me for saying this -- "use a coat hanger to give
me an abortion." That's what the victim says.

So on and on it goes. I won't belabor the
point, but suffice it to say that the Victim Impact Statement
in this case is among the most distressing and troubling I've
ever received,

The defendant was granted custody of his

 

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daughter in December of 2008, and it seems rather apparent
that almost immediately the sexual abuse of her began. And
for the next five years, he repeatedly sexually abused his own
daughter and videotaped it, and he was hurting her while he
was doing it. My review of the tape shows her in anguish and
repeatedly asking him to stop and that it was hurting her, but
he didn't stop. He would continue on a routine basis.

He then would put these videos online for others
to watch, And as the Government's PowerPoint makes clear,
there have been 77 different investigations that have been
spawned based on these images alone. There's more than 10,000
separate depictions of the victim that have been found around
the country. Those are just defendants who have happened to
have been caught. Undoubtedly, there are thousands and
thousands more depictions of the victim out there in
cyberspace, as it were, all over the world. So the breadth of
the erime is truly astonishing.

And, you know, on Pages 8 through 12 of the
Presentence Report, all of the various acts that were done to
the victim by the defendant, her father, are detailed, and I
won't repeat them here in open court, but they're
unimaginable.

Two other little girls were victimized, Jane Doe
No. 2 and 3. In all, there were 472 videos and 6,210 images

of these three little girle found on the defendant's computer.

 

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The offense was aggravated by the fact that it
seems clear, according to Paragraph 29 of the Presentence
Report, that the defendant plied his daughter with marijuana,
and she essentially became addicted to it. And that certainly
aggravates the offense, in my judgment.

What's particularly disturbing to me is in
Paragraph 24 of the Presentence Report, in an interview with
law enforcement, the defendant described his relationship with
his own daughter as, quote, a boyfriend/girlfriend
relationship. This has to be one of the most disturbing
aspects of the case, but I think it well shows the defendant's
mind-set.

In addition to his production of child
pornography, he also possessed a boatload of other child
pornography. I believe it was over 80,000 images were found
on his computer. Some of them involve torture of victims and
the binding of victims and that sort of thing.

The victim in this case, Jane Doe No. 1, reports
that she was afraid that he would harm her if she ever
disclosed what the defendant was doing to her. And, in fact,
she didn't disclose it. Se his plan worked. By putting her
in fear, she never disclosed this to her own mother or to her
grandmother, evidently, who was living in the home with them.

Law enforcement only found out about the sexual

abuse, as far as I can tell, really, in a roundabout way

 

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that's detailed in Paragraphs 5 through 20 of the Presentence
Report, and it was simply, what looks like to me, excellent
police work that led to the defendant's arrest.

The point here is that her comments about not
wanting to disclose what was being done to her, because of the
fear that she was in, played out over the course of those five
years, and the defendant was only apprehended through the
actions of law enforcement; again, as it's detailed in
Paragraphs 5 through 20 of the Presentence Report, which I
won't belabor at this time.

You know, it's true that the defendant
cooperated with the authorities; but speaking pragmatically,
what choice did he have? There was an abundance of videotapes
that showed him doing the very conduct that he was being
accused of. And so there was little to do but to cooperate,
but he did cooperate.

So this conduct is -- in my judgment, it's
dastardly. Pick an adjective. He stole his daughter's
childhood, and she's going to be affected by this and live
with this abuse for the duration of her life.

So there's some things in this world which are
really unforgivable; and in my judgment, doing harm to a
defenseless child, let alone your own child, is one of those
things. So I think this case calls out for a stiff

punishment. And the guidelines, themselves, deliver that, and

 

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I agree with them in this case.

I will note that I would have given the same
sentence that I'm about to give regardless of how the
guidelines were computed. In other words, even if I'm
incorrect in how I've computed the guidelines, I would still
give the same sentence because even if the defendant is
correct on all the guideline issues that we spent an hour
talking about this morning, he would still be at a level --
the defendant would still be at a Level 51, which is well
above the Level 43, which is the maximum of the guidelines in
all events.

Let me touch on some of the defendant's
principal arguments in mitigation. I have considered the
letters from his family and friends, and I commend the
defendant for his efforts while he's been incarcerated. The
letters from the prison ministry and the certificates are
important steps in attempting to rehabilitate oneself. But
they do not, in my judgment, outweigh the nature of this case,
which is the most serious that one could conceivably imagine.

You know, he has expressed remorse in this case
and cooperated with the government; but again, I think that's
tempered by the fact that he really had very little choice
given the weight of the evidence against him.

I will note that the defendant's own upbringing

was horrendous. The things that his father would do to his

 

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mother in his presence, as detailed in the Presentence Report,
is unspeakable. But I can't say that it justifies allowing
that cycle to continue to the victim in this case.

The defendant has raised criticism of the
sentencing guidelines and how they treat child pornography
cases, and I very much agree with that under 262.2. I think
many of those guideline enhancements -- and I've had many
cases where I found that I agree that they make a lot of sense
in several cases, but there is a decided difference in my mind
between somebody who possesses child pornography on the one
hand, it's a bad, a horrible offense, but it's not nearly as
bad -- it doesn't even come in the universe of somebody who is
actually producing child pornography and then disseminating
it. And so I understand the criticisms that are raised by the
defendant of the sentencing guidelines, but I think they miss
the mark in a case like this where it involves production over
a five-year period of time, just so rampant on, a day -- or
nearly day-in, day-out abuse of children.

And so I've taken all of those principal
arguments into mitigation in the sentence that I am about to
announce.

I also will just note for the record that I'm
denying the defendant's Second Supplemental Sentencing
Memorandum, or what they're requesting in there, that any

sentence of greater than thirty years be viewed as

 

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unconstitutional under the Eighth Amendment of the United
States Constitution. I find no cases to support that concept.
And as pointed out by the government in their response, there
are many, many Circuit Court cases that have held to the
contrary. And, indeed, I believe there's a Supreme Court case
where the possession or distribution of a small amount of
cocaine, somebody received a life sentence. And the Supreme
Court said that that wasn't a violation of the Eighth
Amendment. So I can't conceive of how the actions in this
case could be an Eighth Amendment violation for the sentence
that I'm about to announce.

Counsel, haye I addressed all of your principal
arguments in mitigation? Mr. Schlesinger?

MR. SCHLESINGER: Yes, sir.

THE COURT: Does either side have any objections not
previously addressed or voiced? Any further elaboration on
the sentence that -- I suppose I'll ask that after I formally
announce the sentence.

All right. It is the judgment of the Court,
pursuant to Title 18, United States Code, Sections 3551 and
3553, it's the judgment of the Court that the defendant is
hereby committed to the custody of the Bureau of Prisons for a
texm of 360 months on each of the Counts I through VII, a term
of 240 months on Count VIII, and a term of 180 months on Count

IX, all to be served consecutive to one another for a total

 

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term of 2,280 months.

The defendant shall be placed on supervised
release for life on all counts. The terms of the supervised
release are to run concurrently pursuant to 18 0.8.C 3624(e).
And so that's on Counts I through VII, VIII, and Ix.

While the defendant is on supervised release, if
that ever occurs, pursuant to this judgment, the defendant
shall comply with the following mandatory conditions: He
must -- he shall not commit another federal, state, or local
crime. The defendant must report to the probation office in
the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.
The defendant shall not unlawfully possess a controlled
substance and shall refrain from any unlawful use of a
controlled substance. Defendant shall submit to a drug test
within 15 days of release of imprisonment and to periodic drug
tests thereafter as determined by the Court. He must
cooperate in the collection of DNA as directed by the
probation officer. Defendant shall comply with the
requirements of the Sex Offender Registration and Notification
Act. That's under 42 0.8.C 16901, as directed by the
probation officer, the Bureau of Prisons, and any state sex
offender registration agency in which he resides, works, or is
a student, or was convicted of a qualifying offense.

The defendant shall comply with the following

 

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discretionary conditions: He shall not leave the judicial
district without the permission of the Court or probation
officer. I'm imposing this condition to provide community
protection and offender rehabilitation and to enable the
probation officer a statutory duty to keep informed concerning
the defendant's conduct, condition, and compliance pursuant to
18 U.S.C 3553 (a) (1), (a) (2) (B), and (C).

Second, the defendant shall report to the
probation officer in a manner and as frequently as directed by
the Court or probation office. I've given this condition to
provide community protection, offender rehabilitation, and
officer and offender safety and to enable the probation
officer to do his duty of keeping informed of the defendant's
conduct, condition, and compliance with supervision.

Three, the defendant shall not answer falsely
any inquiries by the probation office and should follow the
instructions of the probation officer as they relate to the
conditions imposed by the Court. I'm imposing this condition
to provide community protection and offender rehabilitation.

Next, the defendant shall work at a lawful
occupation, unless excused by the probation office for
schooling, training, or other acceptable reasons. I'm
imposing this condition -- if the defendant is released,
employment is associated with pro-social activities that

reduce the risk of recidivism and they provide the offender

 

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with rehabilitation as indicated by the social science
research.

Next, the defendant shall notify the probation
officer at least ten days prior to any change in residence or
employment. In the event the defendant is involuntarily
terminated from employment or evicted from a residence, the
defendant must notify the probation officer within 48 hours of
those facts. I'm imposing this condition because the
probation officer needs to know the whereabouts of the
defendant. It's necessary for community protection, officer
safety, and to assist with rehabilitation.

Next, the defendant shall not knowingly and
intentionally be in the presence of anyone who is illegally
selling, using, or distributing a controlled substance; and if
such activity commences when he is present, the defendant must
immediately leave the location. The defendant has a history
of substance abuse, as detailed in the Presentence Report, and
frequenting places where illegal, mind-altering substances are
being sold, used, or distributed will increase the risk that
the defendant will purchase, use, or possess those substances,
and so that's the reason I'm giving that condition.

Next, the defendant shall not knowingly and
intentionally associate with any person engaged in criminal
activity. I'm giving you this condition because the research

indicates that -- this sort of obvious fact, that association

 

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with peers who are involved in criminal activity increases the
risk of recidivism. This condition also promotes and
encourages pro-social relationships that are conducive to
law-abiding lifestyles.

Next, the defendant shall permit a probation
officer to visit him at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain
view by the probation officer. I'm imposing this condition
because community contacts with the defendant, if he is ever
released, will help the officer to ensure compliance with the
court-ordered conditions and assist the defendant in
maintaining a law-abiding lifestyle.

Next, the defendant shall notify the probation
officer within 72 hours of being arrested or questioned by a
law enforcement officer, This is being imposed for community
safety and offender rehabilitation.

Next, the defendant shall notify the probation
officer of any material change in his economic circumstances
that might affect his ability to pay any unpaid amount of
restitution or special assessments. I'm imposing this
condition because the probation officer can assess the
defendant's financial information to ensure the defendant is
meeting financial obligations imposed by the Court to make the
victim in this case whole.

I also order the following special conditions or

 

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additional discretionary conditions, whatever the appropriate
nomenclature is now: The defendant shall register with local
law enforcement agencies and the state attorney general as
directed by the probation office. Again, this is a
requirement under the Sex Offender Registration and
Notification Act.

Next, at the direction and diseretion of the
probation office, the defendant shall participate in approved
psychological and behavioral testing, evaluation, and
assessment programs for the treatment and the monitoring of
sex offenders and, if warranted, approved -- sex offender
approved and individual counseling program. I'm able to
impose thie condition. If the defendant is released, this
offense is a very serious sex offense involving a minor, and
the therapeutic needs of the defendant would be met by this
condition. It would help reduce recidivism and protect the
public.

Finally, I'm going to order that the
defendant -- by agreement of the parties, the defendant pay
restitution as a condition of his supervision -- as a
condition of the sentence, pay restitution to the victim of
his offense identified as dane Doe No. 1 in the amount that
has been stipulated to, of $250,000, as agreed to by the
parties in Docket Eatry No. 73.

The parties have asked that I include the

 

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following precise language in the final judgment, which I'll
state on the record here first: Pursuant to the joint motion
to include the restitution stipulation in judgment filed by
the parties on May 5, 2015, Docket Entry No. 72, the Court
hereby orders the defendant to immediately pay $250,000 in
victim restitution to the clerk of the court in this judicial
district. The clerk of the court is ordered in turn to
disburse upon receipt any funds received from the defendant to
victim, Jane Doe No. 1, in care of the Marsh Law Firm, PLLC,
Client Trust Account. Said payment should be made via
government check and mailed to following address, the Marsh
Law Firm, PLLC, attention Jane. The P.0. Box is 4668,
No. 65135, New York, New York 10163-4668. And the phone
number, to the extent that it's necessary, 212-372-3030.

Based on my review of the defendant's financial
condition, as detailed in the Pregentence Report, I'm going to
waive the fine in this case because the defendant does not
have the ability to pay the fine and there is an exceedingly
large restitution order in this case that I believe to be
paramount, in any event. So the fine will be waived in this
case.

It is further ordered that the defendant shall
pay the United States a total special assessment of $900,
which shall be due immediately.

Now, the sentence that I've just given is within

 

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the advisory guideline range. That range exceeds 24 months.
I've given a sentence within the guideline range for the
reasons that I've elaborated on, in detail, prior to ny
announcement of the sentence.

All right. Does either side have any objections
not previously addressed or need any further elaboration on
the sentence?

Miss Koster?

MS. KOSTER: No, Your Honor.

THE COURT: Mr. Schlesinger?

MR. SCHLESSINGER: No, Your Honor.

THE COURT: All right. I now order the sentence
imposed as stated.

Mr. Eckstrom, you've heard the judgment of the
Court imposing sentence upon you. Pursuant to Rule 32(j) of
the Federal Rules of Criminal Procedure, I advise you, you can
appeal your conviction in this chase if you believe your
guilty plea was somehow involuntary or there was some other
defect in the proceeding or the guilty plea.

You also have a statutory right to appeal your
sentence under certain circumstances if you think it was
contrary to law. With few exceptions, any notice of appeal
must be filed within 14 days of the judgment being entered in
your case, if you want to file an appeal. And if you're

unable to pay for the cost of appeal, you may apply for leave

 

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of appeal in forma pauperis, which means you can pursue the
appeal at no cost to you.

Mr. Schlesinger, I know you're aware of this,
but I just remind you of your duties to perfect an appeal,
should your client wish you to do so. You remain responsible
for his representation on appeal unless you're relieved by the
Court of Appeals upon motion.

Okay. Anything else from the government?

MS. KOSTER: No, Your Honor.

THE COURT: Anything else from the defendant?

MR. SCHLESINGER: Your Honor, we have a couple
requests regarding sentencing.

THE COURT: Sure.

MR. SCHLESINGER: We ask that the defendant be placed
at a facility that offers the government Sex Offender Program,
SOMP. Specifically, there are facilities in Marion, Illinois,
and Elkton, Ohio, that do that. Also, that he be -- that the
Court recommend he be -- participate in the drug program while
he's incarcerated.

THE COURT: Okay.

MR. SCHLESINGER: And that he get credit for time
served.

THE COURT: Sure. I'll make all three of those
recommendations; that he be placed in a residential drug

treat-- alcohol treatment program, the Sex Offender Program as

 

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well, and that he be given credit for time served to the
extent possible. I suppose a preference would be if Marion or
Elkton don't offer the ARDAP, that that would be a preference.
Is that right, Mr. Schlesinger?

MR. SCHLESINGER: The preference to go for the sex
offender program over ARDAP, yes.

THE COURT: Okay. So I'll detail all of that in the
judgment commitment, but I'1] recommend Marion, Illinois, or
Elkton, Ohio, so the defendant can take advantage of the
Bureau of Prisons Sex Offender Treatment Program.

All right. Anything else, Mr. Schlesinger?

MR. SCHLESINGER: No, Your Honor.

THE COURT: All right. Good luck, Mr. Eckstrom.

THE DEFENDANT: Thank you, Your Honor. God bless.

THE COURT: Let me just note for the record,

Miss Akalaonu, thank you so much for your presentation and for
your efforts on behalf of the victin.

MS. AKALAONU: Thank you, Your Honor.

(The hearing concludes at 12:55 p.m.)

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CERTIFICATE
I certify that the foregoing is a correct transcript of the

record of proceedings in the above-entitled matter.

PAMELA $. OW ANE June 15, 2015

PAMELA §, OWEN, CSR, RER
Contract Court Reporter

 

 

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